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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                ABILIENE DIVISION

CHRISTOPHER HEMPERLEY,                         §
     Plaintiff,                                §
                                               §
v.                                             §
                                               § CIVIL ACTION NO. 1:16-cv-34
ROY HAGEN and CON-WAY                          §
TRUCKLOAD, INC. d/b/a CON-WAY                  §
TRUCKLOAD,                                     §
     Defendants.                               §

                                   INDEX OF DOCUMENTS

            COMES NOW,      CON-WAY TRUCKLOAD, INC. (hereinafter referred to as

"Defendant"), Defendant in the above-entitled and numbered civil action, and submits this its

Index of Documents filed in the State Court Action, pursuant to the Federal Rules of Civil

Procedure, and which are attached to Defendant' s Notice ofRemoval:

                                       Document                                 Date

       1.      Plaintiffs Original Petition                                   01/22116
       2.      Plaintiffs First Amended Petition and Discovery                02/03/16
       3.      Original Answer of Defendant Con-Way Truckload, Inc.           02/24116
       4.      Defendant's Jury Demand                                        02/24/ 16
       5.      Defendant's Notice of Removal                                  02/24116
       6.      State Court Docket Sheet                                       02/24/ 16




                                                                                          EXHIBIT


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                                            Respectfully submitted,


                                            Isl D. Randall Montgomery
                                            D. RANDALL MONTGOMERY
                                            State Bar No. 14289700
                                            Rmontgomery@drmlawyers.com
                                            ASHLEY A. SMITH
                                            State Bar No. 24049385
                                            asmith@drmlawyers.com
                                            D. RANDALL MONTGOMERY
                                              & ASSOCIATES, P.L.L.C.
                                            12400 Coit Road, Suite 560
                                            Dallas, Texas 75251
                                            (214) 292-2600
                                            (469) 568-9323 (Facsimile)

                                            ATTORNEYS FOR DEFENDANT
                                            CON-WAY TRUCKLOAD, INC.

                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
instrument has been served upon all attorneys of record in accordance with the Federal Rules of
Civil Procedure on this the 23rd   day of February, 2016.

VIA E-FILE AND
CMRRR 9214 7969 0099 9790 1606 3237 84
S. Tim Yusuf
Yusuf Legal Group, P.C.
11200 Broadway, Suite 2743
Pearland, Texas 77584

Rodrigo R. DeLlano, Jr.
Danziger & De Llano, LLP
440 Louisiana St., Suite 1212
Houston, TX 77002



                                           Isl D. Randall Montgomery
                                            D. RANDALL MONTGOMERY




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                                                                                         Filed 1/22/2016 11 :32:57 PM
Case 1:16-cv-00034-C-BL Document 1-1 Filed 02/23/16                        Page 3 of 51 PageIDPatricia
                                                                                               6 Henderson
                                                                                                        District Clerk
                                                                                                Taylor County, Texas
                                                                                              Kathy Conway

                                CAUSE NO. 10682-D

  CHRISTOPHER HEMPERLEY,                   §                   IN THE DISTRICT COURT
            Plaintiff,                     §
                                           §
  vs.                                      §              OFTAYLOR COUNTY, TEXAS
                                           §
  ROY HAGEN&                               §
  CON-WAY TRUCKLOAD INC DBA                §
  CON-WAY TRUCKLOAD                        §
           Defendants.                     §    Taylor 350th District   clf}DICIAL DISTRICT

                           PLAINTIFF'S ORIGINAL PETITION

  TO THE HONORABLE JUDGE OF SAID COURT:

  Comes Now, CHRISTOPHER HEMPERLEY, Plaintiff, complaining of ROY HAGEN

  AND CON-WAY TRUCKLOAD INC. DBA CON-WAY TRUCKLOAD, Defendants,

  and for cause would respectfully show the following:
                                             I.
                                  CLAIMS FOR RELIEF

  1.    Pursuant to TEX. R. CN. P. 47(a): Plaintiff sustained personal injuries and

        damages from a vehicle collision caused by Defendant's negligence.

  2.    Pursuant to TEX. R. CN. P. 47(b): Plaintiff seeks damages within the jurisdictional

        limits of this Court.

  3.    Pursuant to TEX. R. CN. P. 47(c)(4): Defendant's negligence caused injuries and

        damages requiring monetary relief over $100,000 but not more than $1,000,000.

                                          II.
                                        PARTIES

  4.    Plaintiff, CHRISTOPHER HEMPERLEY, is an individual residing in Jonesboro,

        Georgia.

  5.    Defendant, ROY HAGEN, is an individual residing in Garden Grove, Orange

        County, California, and may be served with process at his home address at 9381




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        Weldon Dr., Garden Grove, Orange County, California 92841 or wherever he

        may be found. Service on Defendant is hereby requested at this time.

  6.    Defendant, CON-WAY TRUCKLOAD INC. DBA CON-WAY TRUCKLOAD, is a

        __________ doing business in the State of _ _ _ _ _ for purpose

        of monetary profit and may be served with process by serving its

        Director/President/Registered Agent, _ _ _ _ _ _ _ _ _ _ _ _ _ __

                                       III.
                              VENUE AND JURISDICTION

  7.    Venue is proper in Taylor County, Texas, pursuant to TEX. Civ. PRAC. & REM.

        CODE§ 15.002(a)(1), as all or part of Plaintiff's causes of action accrued in Taylor

        County.

  8.    Jurisdiction is proper in this Court as Plaintiff seeks damages in an amount

        within the jurisdictional limits of this Court.

                                             IV.
                                FACTUAL BACKGROUND

  9.    On January 24, 2014, Plaintiff, Christopher Hemperley was parked at the Flying J

        iocated at I-20 Exit 277101 N. FM707, Tye, Taylor County, Texas 79563.

  10.   While he was stopped and in bed, Mr. Hemperley' s trailer was struck by Mr.

        Hagen's h·ailer who was backing his trailer against Mr. Hemperley's trailer. The

        impact was so hard that it caused Mr. Hemperley to fall out of his bed and

        sustained injuries.

  11.   As a result of the aforementioned collision caused by Defendant's negligence,

        Plaintiff sustained personal injuries and damages which were proximately

        caused by the acts, or omissions of the Defendant, as described below.

                                              V.


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                                     CAUSES OF ACTION

                                  NEGLIGENCE OF ROY HAGEN

  12.   Plaintiff incorporates all previous paragraphs by reference as if fully set forth

        herein.

  13.   The occurrence made the basis of this suit and the resulting injuries and damages

        were proximately caused by the negligence, negligence per se and/ or gross

        negligence of the Defendant, ROY HAGEN, for a variety of acts and/ or

        omissions, including but not limited to one or more of the following:

            a. In failing to control the speed of the vehicle;

            b. In failing to maintain proper distance;

            c. In operating said vehicle in a careless and reckless manner;

            d. In failing to apply, or timely apply, the brakes of said vehicle in time to

                  avoid the aforesaid collision;

            e. In failing to keep a proper lookout;

            f.    In failing to keep said vehicle under reasonable and proper control;

            g. In failing to pay full time attention in operating the vehicle;

            h. In failing to bring the vehicle to a stop immediately prior to the aforesaid

                  collision and failing to maintain a rate of speed that would be reasonable

                  and prudent under the same or similar circumstances; and

            i.    In failing to obey the statutes of the State of Texas as they pertain to the

                  operation of a vehicle;

  14.   Each and all of the above acts and/ or omissions constituted negligence and each

        and all were a proximate cause of the damages suffered by Plaintiff, which forms

        the basis of this suit.


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            NEGUGENT HIRING AND RETENTION OF CON-WAY TRUCKLOAD INC

    Plaintiff incorporates all previous paragraphs by reference as if fully set forth herein.

  15.    CON-WAY TRUCKLOAD INC was also negligent in its hiring, training,

         supervision, monitoring and retention of employees in that its employee, Roy

         Hagen, in the course and scope of his employment, committed the following

         negligent and dangerous actions:

             a. In failing to control the speed of the vehicle;

             b. In failing to maintain proper distance;

             c. In operating said vehicle in a careless and reckless manner;

             d. In failing to apply, or timely apply, the brakes of said vehicle in time to

                  avoid the aforesaid collision;

             e. In failing to keep a proper lookout;

             f.   In failing to keep said vehicle under reasonable and proper control;

             g. In failing to pay full time attention in operating the vehicle;

             h. In failing to bring the vehicle to a stop immediately prior to the aforesaid

                  collision and failing to maintain a rate of speed that would be reasonable

                  and prudent under the same or similar circumstances; and

             i.   In failing to obey the statutes of the State of Texas as they pertain to the

                  operation of a vehicle;

  16.    Plaintiff pleads the foregoing facts and theories cumulatively and alternatively,

         with not election or waiver of rights or remedies.




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                                              VI.
                    VICARIOUS LIABILITY OF CON WAY TRUCK LOAD INC

   17.   Plaintiff incorporates all previous paragraphs by reference as if fully set forth

         herein.

   18.   At the time of the incident, Roy Hagen was operating a Tractor-Trailer in the

         course and scope of his employment with Con-Way Truckload.               Con-Way

         Truckload Inc. is legally responsible to Plaintiff for the negligent conduct of Mr.

         Hagen under the legal doctrines of respondeat superior, agency and/ or

         ostensible agency because Mr. Hagen was at all times material hereto an agent,

         ostensible agent, servant and/or employee of Con-Way Truckload Inc., and was

         acting within the course and scope of such agency or employment. As a result

         thereof, Con-Way Truckload Inc. is vicariously liable for all negligence of Mr.

         Hagen.

   19.   DEFENDANT CON-WAY TRUCKLOAD INC. is vicariously liable for the acts of

         it'> actual agents in fact, apparent agents, ostensible agents, agents by acts of

         estoppel and/ or omissions. As such, Defendant is responsible for the actions of

         Roy Hagen, under the doctrines of respondeat superior, corporate negligence,

         statutory regulations, apparent or ostensible agency, agency by estoppel and

         violation of non-delegable duties.




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                                           VII.
                                         DAMAGES

   200   Plaintiff incorporates all previous paragraphs by reference as if fully set forth

         herein.

   21.   Plaintiff would show that as a direct and proximate result of the acts and/ or

         omissions committed by Defendants, Plaintiff was caused to suffer serious

         permanent personal injuries, all of which have caused Plaintiff's damages in the

         past, and will cause Plaintiff damages in the future, including physical pain,

         mental anguish, loss of earning capacity, physical impairment, disfigurement,

         medical and hospital expenses, for which Plaintiff should be compensated in

         accordance with the laws of the State of Texas.

   22.   Upon trial of this case, it will be shown that Plaintiff sustained injuries and

         damages as a proximate result of the Defendant's negligence; and Plaintiff will

         respectfully request the Court and Jury to determine the amount of the loss

         Plaintiff has incurred in the past and will incur in the future, not only from a

         financial standpoint, but also in terms of good health and freedom from pain and

         worry. From the day of the incident in question until the time of the trial of this

         cause, those elements of damages to be considered separately and individually

         for the purposes of determining the sum of money that will fairly and reasonably

         compensate Plaintiff for each element are as follows: the physical pain that

         Plaintiff suffered from the date of the collision in question up to the time of trial;

         the mental anguish that Plaintiff has suffered from the date of the collision in

         question up to the time of trial; the amount of reasonable medical expenses

         necessarily incurred in the treatment of Plaintiff's injuries from the date of the




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         collision in question up to the time of trial; the diminished earning capacity

         sustained by Plaintiff from the date of the collision in question up to the time of

         trial; the physical incapacity and disability suffered by the Plaintiff and the

         resulting inability to do those tasks and services that Plaintiff ordinarily would

         have been able to perform; the disfigurement which Plaintiff has suffered from

         the date of the collision in question up to the time of trial; and the physical

         impairment suffered by Plaintiff from the date of the collision in question up to

         the time of trial.

                                       VIII.
                       PLAINTIFF'S REQUEST FOR DISCLOSURES

   23.   Pursuant to TEX. R. Crv. P. 194.3(a), Defendants are requested to disclose, within

         50 days of service of this request, the information and material described in TEX.

         R. CIV. P. 194.2(a)-(l).

                                  IX.
         INTERROGATORIES TO DEFENDANT CON-WAY TRUCKLOAD INC.

   24.   Pursuant to TEX. R. Crv. P. 197.2(a), DEFENDANT CON-WAY TRUCKLOAD

         INC. is requested to answer the following Interrogatories within 50 days of

         service of process.

         Interrogatory No. 1
         If you contend that any of Plaintiff's actions or omissions contributed to the
         incident, please describe how, in detail.

         Interrogatory No. 2
         Please state the full name, address, telephone number, date of birth, driver's
         license number, and occupation of each person who provided information
         requested by these interrogatories. For each person identified, please state the
         information that person provided.

         Interrogatory No. 3
         Please state whether or not any insurer has denied coverage, or indicated that it
         is rcscrvbi.g its right to deny cpverage, refuses to provide A defonst:i, or r~ftJs~s tP


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         pay all or part of any judgment, and, if so, please identify every document
         containing or referring to any such denial, refusal, or reservation of rights.




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         Interrogatory No. 4
         Do you contend that Plaintiff violated any traffic laws at the time or immediately
         prior to the collision? If so, describe what you contend to be the violation and
         give the statute number of the violation.

         Interrogatory No. 5
         Do you contend that any personal injuries or damages sustained by Plaintiff
         were caused by any incident which occurred either before or after the incident in
         question or any disease or physical condition which is not the result of the
         incident made the basis of this case? If so, describe in detail such other
         occurrence, disease, injury or condition.

         Interrogatory No. 6
         Do you intend to attempt to impeach Plaintiff, or any family member, employee,
         agent, representative, attorney or any other nahtral person or business or legal
         entity associated in any way with or acting or purporting to act for or on behalf
         of Plaintiff, with evidence of a criminal conviction, if any, as described in Rule
         609 of the Texas Rules of Evidence? If so, please describe in detail such evidence,
         giving name of accused, nature of conviction and charges on which convicted,
         year of conviction and whether or not parole has been successfully completed or
         pardon granted. Please be as specific as you intend to be at lTial.

         Interrogatory No. 7
         Do you intend to attempt to impeach any witness with evidence of a criminal
         conviction, if any, as described in Rule 609 of the Texas Rules of Evidence? If so,
         please describe in detail such evidence, giving name of accused, nahtre of
         conviction and charges on which convicted, year of conviction and whether or
         not parole has been successfully completed or pardon granted. Please be as
         specific as you intend to be at lTial.

         Interrogatory No. 8
         Please state completely and fully all representations, statements, declarations or
         admissions of which you are aware that are relevant to the pending lawsuit and
         were made by Plaintiff, or any family member, agent, servant or employee of
         Plaintiff. Include in your answer when the communication was made, the total
         verbatim communication, and if that is not possible, then state the detailed
         substance of the communication, by whom the communication was made, where
         such communication took place, and all persons present when such
         communication was made.

         Interrogatory No. 9
         Please identify your trial witnesses. A complete answer should include the
         name, address, and telephone number of any person who is expected to be called
         to testify at trial, along with a brief description of the subject matter upon which
         that wih1ess is expected to testify. This interrogatory is not seeking the identity
         of rebuttal or impeachment wih1esses, the necessity of whose testimony cannot
         reasonably be anticipated before trial.


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         Interrogatory No. 10
         Please state in detail your understanding of how the collision occurred. Include
         in your answer:
         a)     your understanding of the cause of the collision, and
         b)     the name, address, phone number, job title, and job description of all
         persons, excluding your attorneys, who provided or recorded information upon
         which you have relied in answering this interrogatory

         Interrogatory No. 11
         Identify all inspections, repairs, and maintenance of any vehicle involved in the
         incident made the basis of this lawsuit made during the 30 days prior to the
         incident made the basis of this cause of action, and include as part of your
         answer the name, address, telephone number, and work performed of each said
         inspection, repair, or maintenance performed.

         Interrogatory No. 12
         Please list those expert witnesses (if any) identified by Plaintiff whom you
         contend are not qualified to render opinions under the standards set fort11 in
         Robinson v. E.I. DuPont de Nemours, 923 S.W.2d 549 (Tex. 1995), or in any
         subsequent opinion by the Supreme Court of Texas which you contend extends
         the holdings of Robinson. Please state the basis of your contention that they are
         not qualified.

         Interrogatory No.13
         Please state the date on which you first subjectively believed that there was a
         substantial chance that litigation would arise from the wreck on January 24, 2014.
         What facts gave rise to your subjective relief?

         Interrogatory No.14
         If the tractor-traiier driven by ROY HAGEN involved in tllis suit was equipped
         with a crash date recorder or "black box", please advise if the data has been
         downloaded from that recorder. If so, please identify who downloaded the data
         from that recorder and the results of the downloaded data.




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         Interrogatory No. 15
         Please identify all employees (drivers and non-drivers) of CON-WAY
         TRUCKLOAD INC. for the five years previous to the incident made the basis of
         this suit through present. In your response, with regard to drivers, please be
         sure to list all drivers regardless of whether the driver was paid by the mile, paid
         a salary, or paid by 1099 as an independent contractor. Please include in your
         response at least the following information:

         a.      each employee's name, last known address and phone number;

         b.      each employee's title and job description; and,

         c.     whether the person is a current or former employee. For all former
         employees, please, specify the last date of employment and reason for
         termination of employment.

                                              x.
                      PLAINTIFF'S REQUESTS FOR PRODUCTION

   25.   Pursuant to TEX. R. Crv. P. 196.2(a), Defendants are requested to answer the

         following Requests for Production within 50 days of service of process.

                            DEFINITIONS OF TERMS USED HEREIN

         A.      Defendants: As used herein the term "Defendants" means ROY HAGEN
         and CON-WAY TRUCKLOAD INC., its departments, agencies, and
         subdivisions, its employees, drivers, independent contractors, owner/ operators,
         trip lessors and its attorneys, investigators, brokers, agents, or any other
         representatives.

         B.       Accident: Unless otherwise defined in a specific request, the term
         11 Accident 11 , as used herein, means the accident occurring on or about January 24,


         2014 at the Flying J located at !~20 Exit 277 101 N. FM707, Tye, Taylor County,
         Texas 79563.

         C.      Accident Files and Records: The term "Accident Files and Records", as
         used herein, is intended to have broad reference to all forms of recorded
         inform_ation, including writings and recordings as defined in Rule 1001, Rules of
         Evidence, and includes written or recorded statements, reports, memorandums,
         correspondence, maps, diagrams, pictures, blueprints, plats, and other related
         objects and documents, letters to or from or records and reports required from
         Defendant by other organizations, state and/ or Federal governmental agencies.

         D.     Co-Driver: As used herein "Co-Driver" means any person(s) driving or
         riding with Roy Hagen time to time in over-the-road motor carrier equipment,
         owned or operated by Defendant, and from time to time working for or with Roy


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         Hagen in the capacity of a co-driver and/ or driver trainer.

         E.     Driver: As used herein, the term "Driver or Drivers" means any person
         employed, or contracted for or with, by Defendant, including persons known as
         co-drivers, independent contractors, owner operators or trip lessors and includes
         persons furnished to Defendant and drivers by any other person or organization
         who perform driving services for or on behalf of Jones Delivery Service, Inc.

         F.      Driver's Qualification File: As used herein, the term "Driver's
         Qualification File", means those records specifically required by the FMCSR Part
         382, 383 and 391 (see Definitions "M" and "N") to be created and maintained by
         CON-WAY TRUCKLOAD INC. on any driver who performs services or work for
         or on behalf of CON-WAY TRUCKLOAD INC. For your convenience, a basic
         description and definition of the documents requested is shown in sub-
         definitions "F-1 through F- 13", found in request number 7 herein, which are
         incorporated in this definition by reference. The definition does not include
         those documents defined in Definition "G" or other definitions found herein.

         G.      Driver's Personnel File: The term "Driver's Personnel File", as used
         herein, means any and all files, records, communications or documents created
         by a driver, CON-WAY TRUCKLOAD INC. or any other person or organization
         that contains documents directed to, received from or about a driver (see
         Definition "EJ. For your convenience, a basic description and definition of the
         documents required are shown in sub-definitions "G-1 through G-5" found in
         request number 9 herein, which are incorporated in this definition by reference.
         This definition does not include those documents found in Definition "F" or
         other definitions herein.

         H.      Trip-Operational Documents: The term "Trip", as used herein, is defined
         as the transportation and/ or movement of one load of cargo, regardless of load
         size or type, from its origin(s) to final destination(s) and includes the travel
         empty or unloaded from that destinal-ion point to the next point or location of
         loading, end of trip or new trip origin. The meaning of the term "Operational
         Documents", as used herein, is clearly defined in sub-definil-ions "H-1 through
         H-7" found in request number 95 herein for your convenience, which are
         incorporated in this definition by reference and are applicable to the records
         generated for each trip made by CON-WAY TRUCKLOAD INC. during the time
         period requested.

         I.      Tractor: The term "Tractor", as used herein, unless otherwise defined in a
         specific request herein, means the over-the-road vehicular power unit being
         operated by CON-WAY TRUCKLOAD INC. at the time the accident occurred.

         J.      Trailer: The term "Trailer", as used herein, unless otherwise defined in a
         specific request' herein~ means any Trailer that may have been attached to the
         power unit being operated by CON-WAY TRUCKLOAD INC. on the date of the
         accident.


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         K.     Hours of Service Records: As used herein, the term "Hours of Service
         Records", means any and all documents created in reference to the FMCSR Part
         395 (see definitions "M" and "N"), including, but not limited to, driver's record
         of duty status or driver's daily logs, time worked cards or other time work
         records or summaries, CON-WAY TRUCKLOAD INC.'s administrative driver's
         record of duty status or log audits and/ or 70/ 60-hour log audits or summaries
         along with any records or reports of violations or, any otherwise described
         documents advising Defendant of hours of service violations. This specifically
         includes all advice, reprimands or warnings given or sent to ROY HAGEN or
         any of his co-driver(s) for violations of the FMCSR Part 395 (see definitions "M"
         and "N"), "Hours of Service of Drivers" Regulations created by or on behalf of
         CON-WAY TRUCKLOAD INC.

         L.      Maintenance Files and Records: As used herein, the term "Maintenance
         Files and Records", means those documents required to be created and/ or
         maintained by CON-WAY TRUCKLOAD INC. in accordance with the FMCSR
         Part 396 (see Definitions "M" and "N"), "Inspection, Repair and Maintenance."
         This includes, but is not limited to, all driver's Tractor and Trailer daily condition
         reports, all systematic and annual inspections, work or repair orders, list of add-
         ons and/ or take-offs of equipment parts and accessories, accounting records,
         bills, or notes of repairs or maintenance and all summary type maintenance
         documents prepared by Defendant or other agencies or organizations, inclusive
         of any summary or computer generated type systematic lubrication, inspection
         and maintenance records and documents in the possession of Defendant on the
         Tractor or Trailer as defined in Definitions "I" and "J" herein. This definition
         specifically includes any and all driver daily condition reports created by any
         driver and maintenance files and records maintained by and in the possession of
         any other person or organization performing maintenance services for or on
         behalf of Defendant.

         M.      CFR, Title 49, Parts 382 through 397: As used herein, "CFR Title 49"
         means the "Code of Federal Regulations", Title 49-Transportation, U.S.
         Department of Transportation, Chapter 3, Federal Highway Adminish·ation,
         Subchapter B- Parts 382 tl11'ough 397 titled the "Federal Motor Carriers Safety
         Regulations" in effect on tl1e date of the accident in question, hereinafter referred
         to as "FMCSR, Parts 382, 383, 385, 387, 391, 392, 393, 395, 396, or 397."

         N.     FMCSR: As used herein, °FMCSR" means tl1e "Federal Motor Carrier
         Safety Regulations" as defined in Definition "M" herein.

         0.      FOMCHS: As used herein, "FOMCHS" means the Federal Governmental
         Entity within the Federal Department of Transportation known as tl1e "Federal
         Office of Motor Carrier and Highway Safety, Field Operations," which is the
         federal agency having jurisdiction and field enforcement responsibilities for the
         FMCSR as defined in Definition "M" and "N" herein.



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         P.          TXMCSR: As used herein, "TXMCSR" means the "State of Texas Motor
         Carrier Safety Regulations" as adopted by the Texas Department of Public Safety
         in effect on the date of the accident. These rules are basically the same as the
         Federal Motor Carrier Safety Regulation as defined in Definitions "M", 11 N 11 and
         11 0 11 , herein and are applicable to motor carriers within the state of Texas.




         Q.      Complete and Clearly Readable Copies: As used herein, the terms
         "Complete and clearly readable copies" means copies that are not reduced in
         size, unless the document being copied exceeds the size of normally available
         copy paper, and is a complete copy of the document clearly readable to the
         average person. Plaintiff requests that each document that is reproduced by
         copy methods to satisfy this request, be produced on one page (one document
         per page), separate and apart from all other documents produced. If the copies
         reproduced to satisfy any request herein are not clearly readable, Plaintiff
         requests the originals be produced for purposes of viewing and copying by the
         plaintiff. The originals will be timely returned to the producing defendant.

         R.     HMR: As used herein, "HMR" means the "Hazardous Materials
         Regulation", Parts 170 through 179, found in the "Code of Federal Regulations",
         Title 49-Transportation, U.S. Department of Transportation, Subtitle B-other
         regulations relating to Transportation titled "The Hazardous Materials
         Regulations" in effect on tl1e date of the accident in question, hereinafter referred
         to as "HMR, Part 170, 171, 172, 173, 177, or 178. These rules have also been
         accepted by Tl1e ~t(lte ~f Texas. as set fortl1 in definition "P" found herein.

         1.      A copy of ROY HAGEN's driver logbook for the time period beginning
         three months before and ending one month after the incident made the basis of
         this suit.

         2.      A copy of ROY HAGEN' s DOT physical card which was in effect tl1e date
         of the accident made the basis of this lawsuit.

         3.     A copy of any and all of ROY HAGEN's driver's license(s).

         4.     A copy of ROY HAGEN's social security card.

         5.     Any copy of the driving record of ROY HAGEN which is in Defendant's
         possession.

         6.     Copies of all drug, alcohol, and/ or controlled substance test results ever
         performed on the driver~ ROY HAGEN.

         7.      Complete and clearly readable copies of the "Driver Qualification File"
         (see Definition "F") maintained by Defendant on ROY HAGEN along witl1 any
         other documents contained therein, in their precise state of existence on the date
         of the incident made the basis of this suit. Please refer to the following sub-
         Definitions "F-1 through F-13" herein and follow them closely.


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         F-1.    Any pre'-employment questiom1aire or other documents secured from
                 ROY HAGEN prior to employment.

         F-2.    Any and all completed application for employment secured from both
                 before and/ or after the actual date of contract or employment of ROY
                 HAGEN.

         F-3.    All medical examinations, drug tests and certification of medical
                 examinations inclusive of expired and non-expired documents relative to
                 ROY HAGEN.

         F-4.    All of ROY HAGEN's annual violation statements which should include
                 one for each twelve months of contract or employment with the
                 Defendant motor carrier in the case.

         F-5.    All achtal driver's motor carrier road tests administered to ROY HAGEN.

         F-6.    All achtal driver's motor carrier written tests administered to ROY
                 HAGEN.

         F-7.    All road and written test certificates issued by CON-WAY TRUCKLOAD
                 INC. or any other motor carrier or organization to ROY HAGEN
                 regardless of the date issued or the originator of such certificates.

         F-8.    All past employment inquiries sent to or secured from former employers
                 along with all responses received from former employers inclusive of all
                 U.S. mail, personal contact or telephone inquiries and results directed to
                 or received by CON-WAY TRUCKLOAD INC. from past employers of
                 ROY HAGEN.

         F-9.    All inquiries to and answers received from any organization in reference
                 to the driver's license record of traffic violations and accidents directed to
                 and/ or received by Defendant, or other organizations on behalf of
                 Defendant, from state and federal governmental agencies relative to ROY
                 HAGEN' s traffic and accident record.

         F-10. Copies of all road or written test cards, medical cards, motor carrier
                 certification of driver qualification cards and any other motor carrier
                 transportation related cards in the possession of Defendant, regardless of
                 card issuance date or origin. This specifically includes cards, as
                 previously described herein, issued by other motor carriers to ROY
                 HAGEN or his co-drivers. presently in their personal possession.
                         •     I

         F-11.   All amrnal reviews, file reviews or file summaries and related summaries
                 and related ,documents found in the drive qualification file of ROY
                 HAGEN.       '


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         F-12.   All documents relative to any drug testing of ROY HAGEN; and,

         F-13.   Any and all other contents of ROY HAGEN's driver qualification file,
                 regardless of subject, form, purpose, originator, receiver, title or
                 description.

         8.      Complete and clearly readable copies of any and all other documents
         added to ROY HAGEN "Driver Qualification File" (see Definition "F") from
         January 24, 2014 to the present date, as presently maintained by CON-WAY
         TRUCKLOAD INC. Please identify and produce such documents separate and
         apart from the documents requested in Request Number 7 herein.

         9.     Complete and clearly readable copies of the "Driver Personnel File" (see
         Definition "G"), and/ or any otherwise titled files on ROY HAGEN or in
         reference to ROY HAGEN' s services, from initial contract or employment with
         CON-WAY TRUCKLOAD INC. to the present date. Please refer to the following
         sub-definitions G-1 through G-5 and follow them closely.

         G-1.    Applications for Employment, owner/ operator or otl-1er types of
                 contracts, agreements, payroll or money advanced records, attendance
                 records computer generated documents and any otl1er summary type
                 document regardless of subject, description or form relative to ROY
                 HAGEN or the services performed by ROY HAGEN.

         G-2.    Hiring, suspension, termination, warning notes, complaints, letters,
                 memorandums and any other similar type documents relative to ROY
                 HAGEN.

         G-3.    Prior industrial, vehicular, cargo, hazardous materials incidents, health or
                 accident reports, or other types of injury, sickness, accidents or loss
                 reports or records inclusive of cargo shortage or damage reports, along
                 with all related documents to each such sickness, incident or accident t11at
                 relate to ROY HAGEN.

         G-4.    FOMCHS (see Definition "O") or otl1er law enforcement agencies,
                 terminal audits or roadside equipment and/ or driver inspections reports,
                 traffic citations or traffic warnings, inclusive of defendant's file reviews or
                 summaries of violations of company, state or federal laws, rules or
                 regulations committed by ROY HAGEN, or any of his co-drivers.

         G-5.    Any and all other documents found in such a file, regardless of
                 description, title, form, origin, or subject, maintained by the Defendant in
                 reference to ROY HAGE!'J, excluding only those documents required by
                 t11e FMCSR Part 391, Driver Qualification, (see Definition "F") defined in
                 request number 7, sub-definitions "F-1 through F-13" herein.



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         10.      Complete and clearly readable copies of any state of FOMCHS (see
         Definition "O"), issued terminal audits, road equipment and/ or driver
         compliance inspections or warnings and traffic citations issued in reference to the
         activities of ROY HAGEN, his co-drivers, or driver trainers, by any city, county,
         state or federal agency or law enforcement official in the possession of
         Defendant. This request specifically includes any documents issued by any
         governmental agencies or officials in reference to violations of any State or
         Federal Motor Carrier Safety or Hazardous Materials Regulations (see
         Definitions "M" and "R") that may have been issued in reference to the activities
         of ROY HAGEN or his co-drivers or driver trainers from October 9, 2013 to
         present date.

         11.     Complete and clearly readable copies of any and all other accident or
         incident file and records (see Definition "C") maintained by Defendant in
         reference to any other vehicular accident, or incident, prior to the occurrence of
         the accident in question, where ROY HAGEN, or his co-driver(s), or driver
         trainer, was the driver of a vehicle involved in the prior accidents or incidents.

         12.     A copy, if any; of the arrest complaint and final order of adjudication
         regarding any charges filed against ROY HAGEN as a result of, or arising out of
         the incident made the basis of this cause of action.

         13.    Copies of any time logs, payroll documents, or similar documents
         evidencing the 9-mount of time worked by ROY HAGEN during the one month
         period prior to the incident in question.

         14.     Copies of any counseling statements, employee discipline statements, or
         similar documents pertaining to ROY HAGEN.

         15.  Copies of all documents that refer or relate to any training received by
         ROY HAGEN while employed by Defendant.

         16.     Copies of all handbooks or other documents relating to commercial
         driver training ROY HAGEN received from you.

         17.   Copies of all videos, manuals, or other materials provided to or reviewed
         by ROY HAGEN regarding driving trucks.

         18.    All non-privileged documents which reflect, depict or discuss the
         physical or mental condition of ROY HAGEN before or after the incident in
         question.

         19.     Documents evidencing any online and/ or computer based commercial
         driver training ROY HAGEN received while employed by you.

         20.    Produce a copy of ROY HAGEN's medical certificate as of the date of the
         incident in questions.


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         21.    Produce copies of ROY HAGEN's phone and pager logs and phone and
         pager bills for the time period beginning three months before and ending one
         month after the incident made the basis of this suit.

         22.     Any records or documentation (medical or non-medical) concerning ROY
         HAGEN that would indicate whether ROY HAGEN was using alcohol and/ or
         drugs (including prescription or nonprescription, legal or illegal drugs) within
         forty-eight (48) hours prior to the collision in question.

         23.     Any documentation concerning ROY HAGEN involving disciplinary
         actions, demerits, reprimands or incidents indicating less than satisfactory job
         performance.

         24.     All records, notes, files, memoranda, or other similar documentation
         indicating an awareness on your part that ROY HAGEN was an unsafe driver.

                                       EQUIPMENT

         25.    A copy of the title to the truck ROY HAGEN was driving at the time in
         question.

         26.    A copy of the title to the trailer ROY HAGEN was towing at the time in
         question.

         27.     The vehicle license receipt for the vehicle operated by Defendant and any
         other documents which show the weight of such vehicle and the trailer at the
         time of the incident in question.

         28.    Copies of any and all repair estimates and bills for the damages to the
         vehicle Defendant was driving at the time of the collision made the basis of this
         lawsuit.

         29.    Any fixtures removed from Defendant's vehicle before or after the
         incident made the basis of this claim.

         30.     Complete and clearly readable copies of any and all maintenance files
         and records (see Definition "L") from 01.01.2008 to present maintained by
         Defendant in accordance with the FMCSR/TXMCSR, Part 396 (see Definitions
         "M" and "N") on the Tractor. (see Definition "I") involved in the accident
         inclusive of any inspections, repair or maintenance done to the Tractor. In
         addition, all driver daily vehicle condition reports submitted by any driver(s) on
         the Tractor from October 9, 2013 through October 9, 2013_ in the possession of
         Defendant. This specifically includes all the driver vehicle condition reports,
         maintenance files and records maintained by any other person(s) or
         organizalion(s) that ROY HAGEN or CON-WAY TRUCKLOAD INC. may have
         bol'rowed, rented or lensed the Tractor from, or who performerl m"tntom1net'!


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         services on behalf of, or for CON-WAY TRUCKLOAD INC. or ROY HAGEN.

         31.     Complete and clearly readable copies of any and all maintenance files
         and records (see Definition "L") from January 24, 2013 to present maintained by
         Defendant in accordance with the FMCSR/TXMCSR, Part 396 (see Definitions
         "M" and "N") on the Trailer (see Definition "J") pulled by ROY HAGEN
         inclusive of any inspections, repair or maintenance done to the Trailer. In
         addition, all driver daily vehicle condition reports submitted by any driver(s)
         from January 24, 2013 through Janua1y 22, 2014 in the possession of Defendant.
         This specifically includes all the driver vehicle condition reports, maintenance
         files and records maintained by any other person(s) or organization(s) that ROY
         HAGEN or JONES DELIVERY SERVICE, INC. may have borrowed, rented or
         leased the Tractor from, or who performed maintenance services on behalf of, or
         for CON-WAY TRUCKLOAD INC. or ROY HAGEN.

         32.(A) The truck-tractor and the semi-trailer combination operated by Defendant
         at the time of the collision made the basis of this suit for purpose of inspection,
         photographing and making measurements.

         32.(B) A copy of all data, image material, reports, or download data relating to
         the ECM (or vehicle, or engine computer) of Defendant's vehicle obtained after
         the incident made the basis of this suit.

         33.     Produce true and correct copies of all fines assessed and/ or paid for
         failing inspections relating to the tractor-trailer made the basis of this lawsuit
         that were conducted between January 24, 2013 and February 24, 2014, inclusive.

         34.     Copies of any contracts, leases or similar agreements between any and all
         parties or potential parties to this suit which refer or relate to the vehicle ROY
         HAGEN was operating at the time of the incident which forms the basis of this
         suit.

         35.     All documents that would reflect the weight being b·ansported by the
         front axle of the truck-b·actor on the occasion in question.

         36.    All documents reflecting or from which could be derived the weight
         being carried by the drive axles of the combination on the occasion in question.

         37.      All documents reflecting or from which could be derived the weight of
         the trailer axle of the combination on the occasion in question.

         38.     All documents reflecting or from which could be derived the total weight
         for the truck-tractor semi-trailer combination on the occasion in question.

         39.    A copy of the weight-bill for the cargo being transported.

         40.    All documents reflecting or from which could be derived the empty


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         weight for the truck-tractor semi-trailer combination on the occasion in question.




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                                               XI.
                                           PRAYER

   26.   WHEREFORE PREMISES CONSIDERED, Plaintiff prays that Defendants be

         cited to appear and answer herein and upon final judgment, this Court award

         Plaintiff all relief sought in accordance with TEX. R CN. P. 47(d) and all relief to

         which Plaintiff may be entitled, general or specific, at law or in equity.

                                Respectfully submitted,

                                YUSUF LEG




                                        Pearland Town Center
                                        11200 Broadway, Suite 2743
                                        Pearland, Texas 77584
                                        Telephone: 866-249-7633
                                        Facsimile: 866-249-7635
                                        .!).'.J!.rnf~1st!fleg~l.com



                                DANZIGER & DE LLANO, LLP
                                                        /Sf
                                        Rodrigo R. de Llano, Jr.
                                        State Bar No. 00786666
                                        440 Louisiana Street, Suite 1212
                                        Houston, TX 77002
                                        Phone: (713) 222-9998
                                        Facsimile: (713) 222-8866
                                        rod@dandell.com

                                        ATTORNEYS FOR PLAINTIFF
                                        VICTOR AYERS




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                                                                                                filed 213/2016 2:45:34 PM
                                                                                                        Pa1ricia Henderson
                                                                                                               District Cleft!
                                                                                                      Tayflll" Coonty, Texas
                                                                                                  Kathy Conway
                                            CAUSE NO. 10682-D

        ClilUSTOPHER HEMPERLEY,                      §               IN THE DISTIUCT COURT
                   PlainHff,                         §
                                                     §
        w.                                           §            OF TAYLOR COUNTY, TEXAS
                                                     §
        ROYHAGEN&                                    §
        CON-WAYTRUCKLOAD,INC.DBA                     §
        CON-WAY TRUCKLOAD                            §
                 Defendants.                         §              350TH: JUDICIAL DISTRICT

                             PLAINTIFF'S Fm.ST AMENPED l'fil'InON
                                       AND DISCOVERY

        TO THE HONORABLE JUDGE OF SAID COURT:

        Comes Now, CHRIS'IOPHER HEMPERLEY, Ptaintiff, complaining of ROY HAGEN

        AND CON-WAY TRUCKLOAD INC. DBA CON-WAY TRUCKIDADr Defendants,

        and for cattse would :respectfully show the following:
                                                     I.
                                          CLAIMS FOR RELIEF

        1.     Pursuant to Tm<. R       av.   P. 47(a}: Plaintiff sustained personal injuries and

               damages from a vehicle collision caused by Defendanf s negligence.

        2.     Pursuant to TEx. R. av. P. 47(b): Plaintiff seeks damages within the jurisdictional

              limits of this Courl.

        3.    Pursuant to Tux. R.     av. P. 47(c}(4):   Defendant's negtigenoo caused injuries and

              damages 1'eqttiri.ng monetary relief over ~1QO,OOO but not more Hum $1,000,000.

                                                    IL
                                                  PARTIES

        4.    Plaintiff, CHRISTOPHER HEMPERLEY, is an individual residing in Jonesboro,

              Georgia.

       5.     Defendant, ROY HAGEN, is an individual residing in Garden Grove, Orange

              County, California. Service of citation on Defendant is hereby requested and



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             lllllY. be completed by certified mail to his home adckess, 9381 Weldon Dr.,

             Garden Grove, California 92841.

        6.   Defendant, CON-WAY TRUCKLOAD INC. DBA CON-WAY TRUCKLOAD, is a

             foreign for-profit corporation doing business in the State of Texas. Sel'vlce of

             citation is requested at tltis time and may be completed by certified mail to its

             registered agent for service in Texas: Cmporation Service Company d/b/ a CSC-

             Lawyers Incorporating Service Company at 211 E. 7th Street, Suite 620, Austin

             Texas 78701.

                                                    m.
                                     VENUE AND JURISDICI10N

        7.   Venue is proper in Taylor County, Texas, pursuant to TBx. Qv. PRAc. &. REM.

             CODB §    15.002(a)(1), as all or part of Plaintiffs causes of action accrued in Tayli.Jl'

             County.

       B.    Jurisdiction is proper in this Court as Plointiff seeks damages in an amount

             within the jurisdictional limits of this Court.

                                                    IV.
                                      PACI'UALBACKGROUND

       9.    On January 24., 2014., Plaintiff, Christopher Hemperley was parked at the Flying J

             located at I-20 Exit 'l77 100. N. FM707, Tye, Taylor County, Texas 79563.

       10.   While he was stopped and in bed, Mr. Hempe:dey' s trailer was sl:rttck by Mr.

             Hagens trail.er who was backing his trailer against Mr. Hemper'ley's trailer. The

             impact was so hard that it caused Mr. Hemperley to fall out of his bed and

             sustained injuries.




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        11.   As a result of the afornmentioned collision cauood by DefendanYs negligen$;

              Plaintiff sustained personal injuries and damages which were proximaraly

              caused by the acl:s, or omissions of the Defendant, as described below.

                                                     v.
                                          CAUSES OP ACTION

                                       NEGUGENCEOfROYHAGEN

        12.   Plalntiff incorporates all previous paragraphs by refurence as if fully set forth



        13.   The oceuttettce made the basis of trus suit and the resulting injuries and damages

              were proximately caused by the :negligence, negligence per se             and/ or   gross

              negligence- of the Defendant, ROY HAGEN, for a variety of acts and/ o:r

              omissions, i11clu.ding but not limited to one or more of the following;

                 a. In failing to control the speed of the vehicle;

                 b. In failing to maintain proper distance;

                 c. In operating said vehicle in a careless and rnckless manner;

                 d. In foiling to apply, or timely apply, the brakes of said vehicle :in time to

                      avoid the aforesaid collision;

                 e. In failing to keep a proper lookout;

                 £. In failing to keep said vehicle undei: reasonable and proper control;

                 g. In failing ro   PaY full time attention in operating the vehicle;
                 h. In failing to bring the vehicle to a stop immediately prior ro the aforesaid

                      collision and failing to maintain a rate of speed that would be reasonable

                      and prudent under the same oc similar ci:rcwnstances; and

                 i.   In failing to obey the statutes of the State of Texas as they pertain to the




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                        operation of a vehicle;

        14.    Eacl:t and. all of the above acts and/ or omissions constituted negligence and ea.ch

               and all were a proximate cause of the damages suffered by Plaintiff, which forms

               the basis of this suit.



                  NEGLIGENT HIRING AND R.ErnNTION OF CON-WAY TRUCKWAD lNC

          Plaintiff inoorporates all previous paragraphs by reference as if fully set forth herein.

       15.     CON-WAY TRUCKLOAD INC was also nagligent in its hiring, training,

               supervision, monitoring and retention of employees in that its employee, Roy

               .Hagen, in the course and scope of his employment, committed the following

               negligent and dangerous ru:tions:

                   a. In failing to control the speed -of the vehicle;

                   b. In fai1U:tg to maintain proper distance;

                   c. In operating said vehicle in a careless and :reckless manner;

                   cl. hl failing to apply, or timely apply, the brakes of said vehicle in time to

                        avoid the aforesaid collision;

                   e. In failing to keep a proper look~t; ·

                   f.   In failing to keep said vehicle tmder reasonable and proper control;

                   g. In failing to pay full time attm.rl:ion in operating the vehicle;

                   h. In failing to bring the vehicle to a stop immediately priOl' to the aforesaid

                        collision and failing to malntain a rate of speed that would be reasonable

                        and prudent under the same or similar circumstances; and

                   i.   In failing to obey the statutes of the State of Texas   ltS   they pertain to the

                        operation of a vehicle;


                                                         4.
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        16.   Plaintiff pleads the foregoing facts and theories cwru.tlatively and alternatively,

              with oot election 01' waiver of rights or remedies.




                                                   VL
                         VICARIOUS lJABILITY OF CONWAY TRUCK LOAD INC

        17.   Plaintiff incorporates alt previous paragraphs by t"efe.reuce as if fully set forl:h

              herein.

        18.   At the time of the incident, Roy Hagen was opernting a Traclor-Trailer in the

              course and scope of his employment with Con-Way Truckload.                 Con-Way

              Truckload Inc. is legally responsible to Plaintiff for the negligent conduct of Mr.

              Hagen under the legal doctrines of respond.eat superior, agency              and/ 01'
              ostensible agency because Mr. Hagen was at all times mal'erial herero an agent,

              ostensible agent, servant and/or employee of Con-Way Truckload Inc., and W1lS

              acting within the   ooutse   and scope of such agency or employment As a result

              thereof, Con-Way Truckload Inc. is vicariously liable for:: all negligeru::e of Mr.
                                                                . '

       19.    DEFENDANT CON-WAY TRUCKLOAD INC. is vicariously liable fur the acts of

              its aclual agents .in fact, apparent agents, ostensible agents, agents by acts of

              estoppel and/ or omi.ss.ions. As such, Defendant is responsible for the actions of

              Roy fugen, under th...e doctrines of respond.eat superior, corpora.le negligence,

              statutory regulatim, apparent or ostens.tole agency, agency by estoppel and

              violation of non-delegable duties.




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                                                  VII.
                                              DAMAGES

        20.   Plaintiff incorporates all previous paragraphs by reference as if fully set forth

              herein.

        21,   Plaintiff would show that as a direct and proximate result of the acts       and/ or
              omissions committed by Defendants, Plaintiff was caused to suffer serious

              permrui.eni personal injuries, all of which have caused Plaintiff's damages in the

              past, and will cause Plamtiff damages ill the future, including physical pain,,

              mental nnguiSh, loss of em.ring (){lpacity, physical :impairment, disfigurement,

              medical and hospital expenses, for which Plaintiff should be compensated in

              accordance with the laws of the State of Texas.

        22.   Upon trial of Uris case, it will be shown that Plaintiff sustaiued injuries and

              damageS as a proximate result of the Defendanr s negligooce; and Plaintiff will

              respectfully request the Court and Jury ro determine the ru.notmt of the loss

              Plaintiff has incurred in the pa.st and will incur in the future, 110t only from a

              firumcia1 standpoint, but also in terms of good health and freedom from pain and

              worry. From the day of the incident in qtrnstion until the time of the trial of this

              cause, those elements of damages ro be considered separately and individually

              for the purposes of determining the sum of money that will fairly and reasonably

              compensate Plaintiff .for each element am as fullows: the physical pain that

              Plaintiff suffered from the date of the wllisioo in question up to the time of trial;

              the mental anguish that Plaintiff has suffered from the date of the cnllision in

              question up to the time of trial; the runou:nl: of reasonable medical expensoo

              necessarily incurred in the treatment of Plaintiff's injuries from the date of the




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             collision in question up to the time of trial; the diminished earning capacity

             sustained by Plaintiff from the date of ihe collision in question up to the time of

             trial; the physical incapacity and disability suffered by the Plaintiff and the

             resulting inability to do those tasks and services that Plaintiff ordinarily would

             have been able to perform; the disfigurement which Plaintiff has suffered from

             the date of the collision in question up to the time of tria1; and the physical

             impairment suffered by Plaintiff from the date of the collision :in question ttp to

             the time of trial.

                                                   vm.
                            PLAINTIFF'S REQUEST FOR DISCLOSURES

       23.   Put'Swtnt to TEX. R.   av. P.   194:.3(a), Defendants are requested to disclose, withln

             50 days of service of this request, the information and material described in TEX.

             R   crv. P. 194.2(a)-(1).
                                     IX.
             INTERROGATORIES TO DEFENDANT CON-WAY TRUCKLOAD INC.

       24.   Pursuant to TB:x.. R. Civ. P. 197.2(a), DEFENDANT CON-WAY TRUCKI..DAD

             INC is requested to         ~ver   the following Interrogatories within 50 days of

             service of process.

             Interrogatory No. 1
             If you contend that any of Plaintiff's actiotlB or omissions contributed to the
             incident, please describe how, in detail.

             Interrogatory No. 2
             Please state the full name, address, telephone number, date of birth, driver1s
             license ruunber, and occupation of each . person who provided information
             requested by these interrogatories. For each person identified.. please state the
             information that person provided.

             Interrogatory No. 3        .
             Please state whether C>r :not any insurer has denied. coverage, or indicated that it
             is reserving it:s right to deny coverage, refuses to provide a defense, or refuses to



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            pay all or part of any judgment, and, if so, please identify every d.ocumant
             containing or referring to any such denial, refusal, o.r reservation of rights.




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             Interrogatory No. 4
             Do you contend that Plaintiff violated any traffic laws at the time or immediately
             prior to the oollisiou? If so, descnbe what you contend to be the violation and
             give the statute number of the violation.

             Interrogatory No. 5
             Do you contend. that any personal injuries or damages sustained by Plaintiff
             were caused by any incident which occurred either before or after the incident in
             question or any disease or physical condition which is not the result of the
             incident made the basis of this case? If so, describe in detail such other
             OOCUl'l'ence, disease, injury or condition.

             Interrogatory No. 6
             Do you inroad oo attempt to impeach Plaintiff, or any family member, employee,
             agent, representative, attorney or any other natuml person or business or legal
             entity associated in any way wifu o:c acting or purf'Qrling to i!Cl for or on behalf
             of Plaintiff, with evidence of a criminal conviction, if any, as described. in Rule
             609 of the Texas Rules of Evidence? If so, please. descnoo in detail such evidence,
             giving name of accused, nature of conviction and charges on which oonvicted,
             year of conviction 111td whefuer or not parole has been. successfully completed or
                                                                  to
             pardon granted. Please be as specific as you intend be at trial.

             Interrogatory No. 7
             Do you intend to attempt oo impeach any witness with evidence of a crimirul1
             conviction, jf any, as described in Rule 609 of the Texas Rules of Evidence? If so,
             please describe in detail such evidence, giving name of a<:cused,. nature of
             conviction and charges on which oonvicted, year of conviction and whether or
             not parole has been successfully completed. or pardon granted. Please be as .
             specific as you intend to be at trial.

            Interrogatory No. 6
            Please stat:e completely and fully all representations, statements, declarations or
            admissions of which you are aw!ll'e that are relevant to the pending lawsuit and
            were made by Plaintiff, or ruJY fatnilx· member, a~nt1 servant: or em1!1oyee of
            Plain.tiff. Include in your answer when the oommunicalion was made, the total
            verbal:im communication, and if that is not possible, Uum state the detailed.
            substance of the communicatio11r by whom the communication was made, where
            such communication took place, and all persons prnsen:l: when such
            couunu.nicalion was made.

            Intenogatory No. 9
            Please identify your trial witnesses. A complete answer should include the
            name, address, and telephone number of any person who is expected to be called
            to testify at trial, along with a brief description of the subject matter upon which
            that witness is expocted to testify. 11tis interrogatory is not seeking the identity
            of rebuttal or impeachment witnesses, the necessity of whose tesfunony cannot
            reasonably be anticipated before trial


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             Interrogatory No. 10
             Please state in detail your tmderstanding of how the collision occwred. Include
             in your answer:
             a)     your understanding of the cause of the collision, and
             b)     the name, address, phone number, job title, and job description of all
             persons, excluding yow: atromeys, who provided or recorded info:rmalion upon
             which you have relied in answering this interrogatory

             Interrogatory No. 11
             Identify all inspections, repairs, and maintenance of any vehicle involved in the
             1ncident made the basis of this lawsuit made during the 30 days prior to the
             incident made the basis of this cause of action,. and include as part 0£ your
             answer Uie name, address, telephone number, and work per.formed of each said
             inspection, repair, or mainterumce perfomwd.

             Interrogatory No. 12
             Please list those expert witnesses (il any) identified by Plaintiff whom you
             contend are not qualified to render opinions under the st.andru:ds set forth in
             Rnbitison v. E.I. DuPont de Nemours, 923 S.W.2d 549 (I'ex:. 1995), Ol' in any
             subsequent opinion by the Supreme Court of Texas which you contend extends
             the holdings of Robinsan. Please state the basis of your contention that they are
             not qualified.

             Interrogatory No. 13
             Please state the date on which you first subjecl:ively believed that there was a
             substantial chance that litigation would arise from the wreck on January 24, 2014.
             What facts gave rise to yow: subjective relief?

            Inteuogatory No. 14
            If the tractor-trailer driven by ROY HAGEN involved in this suit was equipped
            with a crash date rec0:rder or ublack box'', please advise if the data has been
            downloaded from that recorder. If so, please identify who downloaded the data
            from that recorder and the results of the downloaded dat.a.




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             Intenogatory No. 15
             Please identify all employees (drivers and non-drivers) of CON-WAY
             TRUCKLOAD INC. for the five years previous to the incident made the basis of
             this suit through present. In your response, with regard to drivms, please be
             sure to list all drivers regardless of whether the driver was pa.id by the mile, paid
             a salmy, or paid by 1099 as an independent contractor. Please include in your
             response at least the .following information;

             a.     e&::h employee's name, last knovnt address and phone number;

             b.     each employee's title and job description; and,

             c.     whether the person is a cur.rent or former employee. For all fonner
             employees, please, specify the last data of employment and reason for
             termination of employment.

                                                  x.
                            PLAINTIFFS REQUESTS FOR PRODUCTION

       25.   Pursuant to Tux. R    av.   P. 1%.2(a), Defendants are :requested to answer the

             following Requests for Production within 50 days of service of process.

                                DEFINITIONS OFTERMs USED HEREIN

             A       Defendants: As used herein the term i'Defendanl:s"' means ROY HAGEN
             and CON-WAY TRUCKLOAD INC., its cleparb:nenis, agencies, and
             subdivisions, its employees, driver:s, independent contractors, owner/operators,
             trip lessors arui its attorn.eys, investigators, brokers, agents, or any other
             representatives.

             B.       Areident: Unless otherwise defined in a specific request, the temJ.
             11 Accident", es used herein, means the accident occurring on or about January 24,

             2014 at the Flying J located at 1-20 Exit Zl7 101. N. PM707, Tye, Taylor County,
             Texas 79563.

             C.      Accident Files and Records: The teim Accident Files and RecOl'dli", RS
                                                              0


             used herein, is intended to have broad :reference to all forms of t'e(,'Ol'ded
             information,. including writings and recordings as defined in Rule 1001, Rules of
             Evidence, and includes written or reco:rded stah.mrents, reporl:s, memorandums,
             correspondence, maps, diagrams, pictures, blueprints, plats, and other related
             objects and documents, letters to or from or records and reports required from
             Defendant by other organizations, state and/01' Federal governmental agencies.

             D.      Co-Driver. As used herein "Co-Driver" means any person(s) driving or
             t'iding with Roy Hagen time to time in over-the-road motor cwrier equipment,
             owned or operated by Defendant, and from time to time working f'or or with Roy


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                 Hagen in.the capacity of a ~driver and/ or driver trainer.

                 E.     Driver: As used herein, the term "'Drive-r or Drivers" means any person
                 employedr or contracted for or with, by Defendant, including persons known as
                 co-drivers, independent contractors, owner operators or trip lessors and includes
                 persons furnished to Defendant aru1 drivers by any other person or organization
                 who perionn driving services for or on behalf of Jones Delivery Service, Inc.

                 F.     Driver's Qualification File: As used herein, the term "Driver's
                 Qualification File", means those records specifically required by the FMCSR Part
                 382, 383 and 391 {see Definitions HM" and "N") to be created and maintained by
                 CON-WAY TRUCKLOAD INC. on any driver who per.fonns services or work for
                 or on behalf of CON-WAY TRUCKLOAD INC. For your convenience, a basic
                 description and definition of the documents requested is shown in sub--
                 definitions "F-1 tmough F- 13", found in request number 7 herein,. which are -
                 incorporated. in this defutiti.o:n by reference. The definition does not .lnclude
                 those documents defined in Definition "G' or other definitions found herein.

                G.      Driver's Pecsonnel File: The term "Driver's Personnel File", as used
                hereinr means any and all files, records, comntun.ica.tions or docum.en.l:s created
                by a driver, CDN-WAY TRUCKLOAD INC. or any other person or organization
                that contains documents directed to, received from or about a driver {see
                Def"mition "B"), for your convenience, a basic description and definition of the
                documents required are shown in sub-definitions "G-1 through G-5" found in
                request number 9 herein,. which are incorporated in this definition by refere.tWe.
                This definition doe9 not mdude those documents found in Definition "F'' 01'
                other definitions herein.

                H       Trip-Operational Documents: 'Ihe term "Trip", as used herein,. is defined
                as Uie transportation and/ or movement of one load of cargo, regardless of load
                size or type, from its origin(s) to final destina.tion(s) and includes the travel
                empty or unloaded from that destination point to the next point or location of
                loading, end of trip or naw trip origin. The meaning of the term "Operational
                Documents", as used herein, :is clearly defined in sub-definitions "H-1 through
                H-7' found m request number 95 he.rein for your convenience, which are
                incorporated in this definition by reference and ore applicable to the reoords
                generated for each trip made by CON-WAY TRUCKLOAD INC. during the time
                period «iqUested.

                I.      Tractor: The term. "Tracl:or", as used herein, unless otherwise defined in a
\               specific request herein, means the over-the-road vehirula:r power unit being
                operated by CON-WAY TRUCKLOAD INC at the time the accident OCCtlfted

                J.      Trailer. 'Ihe term uTmiler", as used herein, unless otherwise defined in a
                specific request herein, means 1iilY Trailer that may have been attached to the
                power wtlt being operated by CON-WAY TRUCKLOAD JNC. on the date of the
                accident.


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             K.     Hours of Service Records: As used herein,. the term "Homs of Service
             ~rds",     means any and 11.ll documents created in reference to the FMC:SR Part
             395 (see defini~ons "M'' and 0 N"}, including. but not limited to, driver's record
             of duty status or driver's daily logs, time worked cards o:r other time work
             reootds or summaries, CON-WAY TRUCKLOAD INC.'s administrative driver's
             record of duly status or log audits and/or 70/fiO...hour log audits or summaries
             along with any recot'ds or reports of violations or, any otherwise descnbed
             documents advising Defendant of houtS of service violations. This specifically
             includes f1ll advice, reprimands or wamings given or sent to ROY HAGEN or
             any of his co-driver(s) for violations of the FMCSR Part 395 (see definitions "M"
             and "N"), "Hours of Service of Drivers" Regulations created by or on behalf of
             CON-WAY TRUCKLOAD INC.

             L.      Maintenance Files and Records: As used herein, the term "Maintenance
             Files and Records", means those documents required to be created and/ or
             maintained by CON-WAY TRUCKLOAD lNC. .in accordruu:e with the FMCSR
             Part 396 (see Definitions "M" and "N"), "Inspection, Repair and M.aintenanoo."
             This includes, but is not limited to, all driver's Tractor and Trailer daily condition
             reports, all systematic and annual inspections, work or repair orders, list of add,.
             ons and/ or .take-offs of equipment parts and accessories, accounting records,
             bills, or notes of repaits or maintenance and all summary type maintename
             documents prepared by Defendant or other agencies or ocganizations, inclusive
             of any summary or computer generated type systematic lubrication, inspection
             and maintenance records and documents :i:n the possession. of Defendant on the
             Tractor or Tl'ailer as defined in Definitions "I" and "J" herein. This definition
             specifically includes any and all driver daily condition l'eports created by any
             driver and maintenance files and records maintained by and in the possession of
             any oU1& person or organization performing maintenance services for 01' on
             behalf of Defendant

             M       CPR, Tit1e 49, Parts 382 through 397: As used herein, "CPR Title 49"
             means the "Code of Federal Regulations", Title 49-Transporlation, U.S.
             Department of Trarisporlation, Chapter 3, Federal Highway Administration,
             Subchapter B- Parts 382 through 397 titled the "Federal Mot01' Carriers Safety
             Regulations" in effect on the date of the- wxrident in question, hereinafter referred
             to as "FMCSR,, Parts 382, 383, 385, 387, 391, 392, 393, 395, 396, or 3CJ7."

             N.     FMCSR: As used herein,. "FMCSR" means the "Federal Motor Carrier
             Safety Regulations" as defined in Definition "M" herein.

            0.      FOMCHS: As umid herein, "FOMCHS" means the Federal Goverru:nental
            Entity -within the Federal Department of Transportation known as fhe "Federal
            Office of Motor Carrier and Highway Safety, Field Operations/' which .ts the
            federal agency having jurisdiction and field enforcement resp011S1bilities for the
            FMCSR as defined in Definition "M' and "N" herein.



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             P.     TXMCSR: As used herein, "TXMCSR" means the "State of Texas Motor
             Crurie:r Safety Regulations" a.s adopted by !he Texas Department of Public Safety
             in effect on the date of the accident These rules are basically the same as the
             Federal Motor Carrier Safety Regulation as defined in Definitions nM11, 11N'' and
             "0", herein and are applicable to motor carriers within the state of Texas.

             Q.      Complete and dearly Readable Copies: As used herein, the terms
             "Complete and clearly readable copies" means copies that are not reduced in
             size, unless the document being copied exceeds the size of normally available
             copy paper, and :is a complete copy of the document clearly readable to the
             average person. Plaintiff requests that ea.ch document that is reproduced by
             copy methods to satisfy this request, be produced on one page (one document
             per page), separate and apart from all other documents produced. 1f the copies
             reproduced to satisfy any request herein are not dearly readable, Plaintiff
             requests the originals be produced for purposes of viewing and copying by the
             plaintiff. The originals will be timely returned to the producing defend.ant.

             R.     HMR: As used herein, "Hlv.!Rn means the "Hazardous Materials
             Regulation", Parts 170 through 179, found in the "Code of Federal Regulations",
             Title 49-Transportation, U.S. Department of Transportation, Subtitle B-Other
             regulations relating to Transportation titled "The Hazardous Materials
             Regulations" in effect on the date of the accident in question,. hereinafter referred
             to as "HMR Part 170, 171, 172,. 173, 177, 01' 178. These rules have also been
             accepted by The State of Texas as set forth in definition "p'' found herein.

             1.      A copy of ROY HAGEN's driver logbook for 1he time period beginning
             three months before and ending one month after the incident made the basis of
             this suit.

             2       A oopy of ROY HAGEN's DOT physical card which was in effect the date
             of the accident made the basis of this lawsuit.

             3,     A copy of any and all of ROY HAGEN's driver's lironse(s).

             4.     A copy of ROY HAGEN's social security card.

             5.     Any copy of the driving record of ROY HAGEN which is in De:fundanYs
             possession.

             6.     Copies of all dtug, aloohol.. and/ or oonirolled substance test results ever
             perlormed on the driver, ROY HAGEN.

            7.      Complete and clearly readable copies of the "Driver Qualification File"
            (see Definition "F") maintained by Defendant on ROY HAGEN along with any
            other documents contained therein, in their precise state of existence on the date
            of the incident made llie basis of this suit Please refer to the following sub--
            Definitions "F-1 through F-13" herein and follow them closely.       ·


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             F-1.     Any pre-employment questiomtaire or other documants secured from
                      ROY HAGEN prior to employment

             F-2.     Any and all completed application for employment secmed from both
                      before and/ or after the actual date of oonb'act or employment of ROY
                      HAGEN.

             F-3.     All medical examinations, drug tests and certification of medical
                      examinations inclusive of expired and non-expired documents relative to
                      ROY HAGEN.

             P-4..    All of ROY HAGEN's annual violation statements which should include
                      one for each twelve months of contract or employment: with the
                      Defendant motor carrier in the case.

             F-5.     All actual driver's motor carrier road tests administered to ROY HAGEN.

             F-U.     All actual driver's motor carrier written tests administered to ROY
                      HAGEN.

             F-7.     All road and written testoorlificatesissued by CON-WAY TRUCKLOAD
                      INC. or any other motor carrier or organization lo ROY HAGEN
                      regardless of the date issued or the originator of such cerlificates.

             F-8.     All past employment inquiries sent to or secured from former employers
                      along with all responses received from former employers inclusive of all
                      U.S. mail, personal contact or telephone inqtlilies and results directed to
                      or received by CON-WAY 1RUCKWAD INC. from past employers of
                      ROY HAGEN.

             F-9.     All inquiries to and answers received from any organization in reference
                      to the driver's license :record of lraffic violations and accidents directed to
                      and/ or rooeived by Defendant, or other organizations on behalf of
                      Defendant, from state and federal governmental agencies relative to ROY
                      HAGEN's traffic and accident record.

             F-10. Copies of all road or written test cards, medical cards, motor carrier
                   certification of driver qualification cards and any other motor carrier
                   transportation :related cards in the possession of Defendant, regardless of
                   card issuance date or origin. This specifically .includes cards, as
                   previously described herein, issued by other motor carriers to ROY
                   HAGEN or his co-drivers presently in their personal possession. 'it,

             F--11.   All arutual reviews, file reviews or file summaries and relared S1llililUU'.ies
                      and related documenl:s found in lhe drive qualification file of ROY
                      HAGEN.


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             F-12.    All documents relative to any drug testing of ROY HAGEN; and,

             F-13.    Any and all other contents of ROY HAGEN's drive.- qualification file,
                      regardless of subject, form, purpose, originator, receiver, title or
                      description.

             8.      Complete and clearly readable copies of any 11nd all other documents
             added to ROY HAGEN "Driver Qualification File" (see Definition "'F''} from
             January 24, 2014 to the p:resent date, as presently maintained by OON-WAY
             TRUCKLOAD INC. Please identify and produce such documents separate and
             apart from the documents requested in Request Number 7 herein.

             9.     Complete and clearly readable copies of the "Driver Persoiutel File" (see
             Definition "G"}, and/ or any otherwise titled files on ROY HAGEN or in
             reference to ROY HAGEN' s services, from initial contract or employment with
             CON-WAY TRUCKLOAD INC. to the present elute. Please refer to the following
             sub-definitions G-1 through G-5 and follow them closely.

             G-1.     Applications for Employment, owner/operator or other types of
                      contracts, agreements, payroll or money advanced :records, attendance
                      records computer generated documents and any other summary type
                      document regardless of subjoot, description or form relative In ROY
                      HAGEN or the services performed by ROY HAGEN.

             G-2.     Hiring, suspension, termination, warning notes, complaints, letters,
                      memorandtuns and any other similar type documents relative to ROY
                      HAGEN.

             G-3.     Prior industrial, vehicular, cargo, hazardous materials incidents, health or
                      accident reports, or other types of illjury, sickness, accidents or loss
                      reports rn: records inclusive of cargo shorlage or damage reports, along
                      with all rotated documents to each such sickness, :incident or accident: that
                      relate t.o ROY HAGEN.

             G--4..   FOMCHB (see Definition iJO"} or other law enfuroommi.t agencies,
                      temtlna.1 audits or roadside equipment and/01' driver inspections reports,
                      traffic citations or traffic warnings, inclusive of defendant's file reviews or
                      51JIDIIl1llies of violations of company, slate or federal laws, rules or
                      regulations committed by ROY HAGEN, or any of his oo--drivers.

             G-5.     Any and all other documents found in such a file, regardless of
                      description, title, fomi, origin, or subject, maintained by the Defendant in
                      reference to ROY HAGEN, excluding only those documents required by
                      the FMCSK Part 391, Driver Qua1ification, (ooe. Definition "F") defined in
                      request m.unber 7, sub-definitions "F-1 Uu:ough P-13" herein.




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             10.     Complete and clearly readable copies of any state of FOMC£-IS (see
             Definition "O"), issued terminal audits, road equipment and/ or driver
             compliance inspections or warnings and traffic citations issued in reference to the
             activities of ROY HAGEN, his co-drivers, or driver trainers, by any city, county,
             state or federal agency or law enforcemanl: official in the possession of
             Defendant. This request specifically includes any documenl:!i issued by any
             govemmental agencies or officials in reference to violations of any State or
             Federal Motor Carrier Safety or Hazardous Materials Regulations {see
             Definitions "M'' and "R") that may have been issued in reference to the activities
             of ROY HAGEN or his co-drivers or driver trainers from October 9, 2013 to
             present date.

             11.        Complete and clearly readable copies of any and. all other accident or
             incident file and records (see Definition "C'') maintained by Defendant in
             reference to any other vehicular accident, or incident, prior to the occurrence of
             the accident in question, where ROY HAGEN, or his <X>-driver(s), or driver
             t:rnit.rer, was the driver of a vehicle involved in the prior accidents or m.cidents.

             12.    A copy, if any, of the arrest complaint and final order of adjudication
             regarding any charges filed against ROY HAGEN as a result of, or arising out of
             the incident made the basis of this cause of action.

             13.    Copies of any time logs, payroll documents, or similar docum.ents
             evidencing the amount of time worked by ROY HAGEN during the one month
             period prior to the incident in question.

             14.     Copies of any cow:iseling statements, employee discipline statements, or
             similar documents pertaining to ROY HAGEN.

             15.  Copies of all documents that refer or relate to any training received by
             ROY HAGEN wlrile employed by Defendant.

             16.     Copies of all handbooks or other docum.ents :relating to oo:mmarcial
             driver training ROY HAGEN :received from you.

             17.    Copies of all videos, ma.nua!s, or other materials poovided. to or reviewed
             by ROY HAGEN regarding driving trucks.

            18.    All non-privileged documents which reflect, depict or discuss the
            physical or mental condition of ROY HAGEN before or after the incident m
            question.

             19.     Documents evidencing any online and/ot computer based oomme.rcial
             driver training ROY HAGEN :received while employed by you.

             20.    Produce a copy of ROY HAGEN's medical oorlificate as of the date of the
             incident in questions.


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             21.    Produce copies of ROY HAGEN's phone and pager logs and.phone and
             pager bills for the time period beginning three months before and ending one
             month after the incident made the basis of this suit.

             22.     Any records or documentation (mediqil or non-medical) concerning ROY
             HAGEN ihat would indicate whether ROY HAGEN was using alcohol and/ or
             drugs (including prescription or nonprescription,. legal 01' illegal drugs} withtn
             f01"ly-eight (48) hows prior to the collision in <J!ffiStion.

             23.     Any documentation concerning ROY HAGEN involving disciplinary
             actions, demerits, .reprimands or incidents indicating less than satisfactory job
             performance.

             24.    All records, notes, files, memoranda, or other s1milar documentation
             indicating an awareness on your pa.rt that ROY HAGEN was an unsafe driver.

                                           EQUIPMENT

             25.    A copy of the title to the truck ROY HAGEN was driving at the time in
             question.

             26.    A oopy of the title to the trailer ROY HAGEN was towing at the time in
             question.

             27.     The vehicle license receipt for the vehicle operated by Defendant and any
             other documents which show the weight of such vehicle and the trailer at the
             time of the incident in question.        ·

             28.     Copies of any and all repair estimates and bills for the damages to the
             vehicle Defendant was driving at the time of the collision made the basis of this
             lawsuit.

             29.    Any fixtures removed from Defendanl:1s vehicle before or after the
             incident made the basis of this claim.

             30.     Complete and clearly readable copies of any and all maintenance files
             and records (see Definition "L") from 01.01.2008 to present maintained by
             Defendant in accordance with l:lte FMCSR/TXMCffi, Part 396 (see Definitions
             "M" and "N") on the Tractor (see Definition "I") involved in the accident
             inclusive of any inspections, .repair or ntainterumre done to the Tractor. Jn
             addition, all driver daily vehicle condition reports submitted by any driver(s} on
             the Tractor fr.om October 9, 2013 through October 9, 2013_ in the possession of
             Defendant. This specifically includes atl the driver vehicle condition reparts,
             maintenance files and records maintained by any other person(s) or
             ocganization(s) that ROY HAGEN' or CON-WAY TRUCKLOAD INC. may lmve.
             borrowed, rented or leased the Tractor from, or who performed maintenance


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            . secvires on behalf of, or for CON-WAY TRUCKLOAD INC or ROY HAGEN.

            31.     Complete and clearly readable copies of any and all maintenance files
            and records (see Definition "L") from January 24, 2013 to present i:µaintained by
            Defendant in accordanoo with the FMCSR/TXMCSR, Part 396. (see Definitions
            "M" and "N") on the Trailer (see Definition "J") pulled by ROY HAGEN
            inclusive of any inspections, repair or mainteruwce done to the Trailer. In
            addition, all driver daily vehicle oondition reports submitted by any driver(s)
            from January 24, 2013 through January 22, 2014 in the possession of Defendant
            'This specifically includes all lhe driver vehicle condition reporlB, maintenance
            files and :records maintained by any other person(s) or organization(s) that ROY
            HAGEN or JONES DEUVERY SERVICE,. INC. may have 'borrowed, rented or
            leased the Tractor from, or who pe.rfom:wd maintenance services on behalf of, or
            for CON-WAY TRUCKLOAD INC. or ROY HAGEN.

             32.(A) 'The truck-tractor and the semi-trnilaC combination operated l>y Defendant
             at the time of the collision ma.de the basis of tltis suit for ptttpose of inspection,
             photographing and making measurements.

             32.(B} A copy of all data, image maktrial, reports, or download data relating to
             the ECM (or vehicle, or engine computer) of Defendant's vehicle obtained after
             the incident made the basis of this suit.

            33.     Produce true and correct copies of all fines assessed and/ oi: . paid for
            failing inspections .relating to the tractor-trailer made the basis of this lawsuit
            that were conducted between January 24, 2013 and February 24, 2014, inclusive.

            34.     Copies of any conhact.s, leases or similar agreements between any and all
            parties or potential parties to this suit which ref& or .:relate to the vehicle ROY
            HAGEN was operating at the time of the incident which forms the basis of this
            suit.

            35.     All documents that would reflect the weight being transported by the
            front axle of the truck-tractor on the occasion in question

            36.    All documents reflecting or from wbic:h could be derived the weight
            being carried by the drive axles of the combination on the occasion in question.

            37.     All documents reflecfutg or from which could be derived fhe Weight of
            the trailer axle of the combiuation on the occ:asi.on in question.

            38.     All documents reflecting or from which could be derived the total weight
            for the truck-tractor semi-trailer combination on Ute occasion in question.

            39.     A copy of the weighl~bill for the cargo being transported.

            40.     All docunwnrn reflecting or from which could be derived the empty


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             weight for the truck-tractor semi-tniller combination on the occasion in question.




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                                                     XI.
                                                  PRAYER

          26.   WHEREFORE PREMJSES CONSIDERED, Plaintiff prays that Defendants be

                cited to 11.ppear and answer he.rein and UPC!\ final judgment, this Court award

                Plaintiff all relief sought in acoordanoe with Tux. R.   av. P. 47(d) and all relief to
                which PWnt.iff may be entitled, general or specififl, at law or in equity.

                                       Respectfully submitted,




                                                  im
                                                    Bar No. 50511534
                                               Pearland Town Center
                                               11200 Broadway, Suite 2'743
                                               Pearland, Texas 77584
                                               Telephone: 866-249-'7633
                                               FaOOntile: 866-249-763.5
                                               tyusuf@yusuflegal.com


                                       DANZIGER & DE LLANO, LLP
                                                              /SI
                                               Rodrigo R de Llano, Jr.
                                               State Bat· No. 00786666
                                               440 Lotrisiana Street, Suite 1212
                                               Houston, TX 77002
                                               Phone: (713) 222-9998
                                               Facsimile: (713} 222-8866
                                               rod®~ell.com

                                               ATIORNEYS FOR PLAINTIFF
                                               CHRISTOPHER HEMPERLEY




                                                      21
Case 1:16-cv-00034-C-BL Document 1-1 Filed 02/23/16                  Page 45 of 51 PageID 48


                                      CAUSE N0.10682-D

CHRISTOPHER HEMPERLEY,                           § IN THE DISTRICT COURT OF
     Plaintiff,                                  §
                                                 §
v.                                               §
                                                 §TAYLOR COUNTY, TEXAS
ROY HAGEN and CON-WAY                            §
TRUCKLOAD, INC. d/b/a CON-WAY                    §
TRUCKLOAD,                                       §
     Defendants.                                 § 350TH JUDICIAL DISTRICT

         ORIGINAL ANSWER OF DEFENDANT CON-WAY TRUCKLOAD, INC.

TO THE HONORABLE JUDGE OF SAID COURT:

         COMES NOW, CON-WAY TRUCKLOAD, INC.                           (hereinafter "Defendant"),

Defendant in the above-entitled and numbered cause, and makes and files this its Original

Answer, showing unto the Court as follows:

                                                I.
                                      GENERAL DENIAL

         Subject to such stipulations and admissions as may be made hereafter, this Defendant

hereby enters a general denial as permitted by Rule 92 of the Texas Rules of Civil Procedure,

and requests that Plaintiff be required to prove by a preponderance of the evidence the charges

and allegations which he has made against this Defendant and to do so before a jury composed of

twelve (12) citizens of this County as is required by the laws and Constitution of the State of

Texas.

         WHEREFORE, PREMISES CONSIDERED, Defendant prays that judgment be

rendered, that Plaintiff take nothing by this suit and that Defendant be permitted to go hence

without delay and recover its costs in its behalf expended, and for such other and further relief,

general and specific, legal and equitable, to which Defendant may be justly entitled.




ORIG INAL ANSWER OF DEFENDANT CON-WAY TRUCKLOAD, I NC.- Page I
Case 1:16-cv-00034-C-BL Document 1-1 Filed 02/23/16                Page 46 of 51 PageID 49


                                            Respectfully submitted,


                                            Isl D. Randall Montgomery

                                            D. RANDALL MONTGOMERY
                                            State Bar No. 14289700
                                            Rmontgomery@drmlawyers.com
                                            ASHLEY A. SMITH
                                            State Bar No. 24049385
                                            asmith@drmlawyers.com
                                            D. RANDALL MONTGOMERY
                                              & ASSOCIATES, P.L.L.C.
                                            12400 Coit Road, Suite 560
                                            Dallas, Texas 75251
                                            (214) 292-2600
                                            (469) 568-9323 (Facsimile)

                                            ATTORNEYS FOR DEFENDANT
                                            CON-WAY TRUCKLOAD, INC.

                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
instrument has been served upon all attorneys of record in accordance with the Texas Rules of
Civil Procedure on this the~ day of February, 2016.

VIA E-FILE AND
CMRRR 9214 7969 0099 9790 1606 3237 84
S. Tim Yusuf
Yusuf Legal Group, P.C.
11200 Broadway, Suite 2743
Pearland, Texas 77584

Rodrigo R. DeLlano, Jr.
Danziger & De Llano, LLP
440 Louisiana St., Suite 1212
Houston, TX 77002



                                           Isl D. Randall Montgomery

                                            D. RANDALL MONTGOMERY




ORIGINAL ANSWER OF DEFENDANT CON-WAY TRUCKLOAD, INC. - Page 2
Case 1:16-cv-00034-C-BL Document 1-1 Filed 02/23/16                    Page 47 of 51 PageID 50


                                        CAUSE NO. 10682-D

CHRISTOPHER HEMPERLEY,                              § IN THE DISTRICT COURT OF
     Plaintiff,                                     §
                                                    §
v.                                                  §
                                                    §TAYLOR COUNTY, TEXAS
ROY HAGEN and CON-WAY                               §
TRUCKLOAD, INC. d/b/a CON-WAY                       §
TRUCKLOAD,                                          §
     Defendants.                                    § 350rn JUDICIAL DISTRICT

                                DEFENDANT'S JURY DEMAND

TO THE HONORABLE JUDGE OF SAID COURT:

        COMES NOW, CON-WAY TRUCKLOAD, INC. (hereinafter "Defendant"), and

demands a jury trial of all issues of fact in this lawsuit.

        The filing of this Jury Demand, however, is not a request that the matter be set for trial at

this time or that the matter be placed on the Court's docket at this time.

                                                Respectfully submitted,


                                                Isl D. Randall Montgomery

                                                D. RANDALL MONTGOMERY
                                                State Bar No. 14289700
                                                Rmontgomery@drmlawyers.com
                                                ASHLEY A. SMITH
                                                State Bar No. 24049385
                                                asmith@drmlawyers.com
                                                D. RANDALL MONTGOMERY
                                                  & ASSOCIATES, P.L.L.C.
                                                12400 Coit Road, Suite 560
                                                Dallas, Texas 75251
                                                (214) 292-2600
                                                (469) 568-9323 (Facsimile)

                                                ATTORNEYS FOR DEFENDANT




DEFENDANT'S JURY DEMAND - Page 1
Case 1:16-cv-00034-C-BL Document 1-1 Filed 02/23/16               Page 48 of 51 PageID 51


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S. Tim Yusuf
Yusuf Legal Group, P.C.
11200 Broadway, Suite 2743
Pearland, Texas 77584

Rodrigo R. DeLlano, Jr.
Danziger & De Llano, LLP
440 Louisiana St., Suite 1212
Houston, TX 77002


                                           Isl D. Randall Montgomery
                                           D. RANDALL MONTGOMERY




DEFENDANT'S JURY DEMAND - Page 2
Case 1:16-cv-00034-C-BL Document 1-1 Filed 02/23/16                 Page 49 of 51 PageID 52


                                     CAUSE NO. 10682-D

CHRISTOPHER HEMPERLEY,                          § IN THE DISTRICT COURT OF
     Plaintiff,                                 §
                                                §
v.                                              §
                                                §TAYLOR COUNTY, TEXAS
ROY HAGEN and CON-WAY                           §
TRUCKLOAD, INC. d/b/a CON-WAY                   §
TRUCKLOAD,                                      §
     Defendants.                                § 350rn JUDICIAL DISTRICT

                    NOTICE OF FILING OF NOTICE OF REMOVAL

       Please take notice that on February 24, 2016, Defendant Con-Way Truckload, Inc. filed a

Notice of Removal of the above-captioned action with the United States District Court for the

Northern District of Texas, Abilene Division, a copy of which is attached hereto.

                                             Respectfully submitted,


                                            Isl D. Randall Montgomery
                                            D. RANDALL MONTGOMERY
                                            State Bar No. 14289700
                                            Rmontgomery@drmlawyers.com
                                            ASHLEY A. SMITH
                                            State Bar No. 24049385
                                            asmith@drmlawyers.com
                                            D. RANDALL MONTGOMERY
                                              & ASSOCIATES, P.L.L.C.
                                            12400 Coit Road, Suite 560
                                            Dallas, Texas 75251
                                            (214) 292-2600
                                            (469) 568-9323 (Facsimile)

                                            ATTORNEYS FOR DEFENDANT
                                            CON-WAY TRUCKLOAD, INC.




NOTICE OF FILING OF NOTICE OF REMOVAL - Page 1
Case 1:16-cv-00034-C-BL Document 1-1 Filed 02/23/16                Page 50 of 51 PageID 53


                                CERTIFICATE OF SERVICE

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instrument has been served upon all attorneys of record in accordance with the Texas Rules of
Civil Procedure on this the~ day of February, 2016.

VIA E-FILE AND
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S. Tim Yusuf
Yusuf Legal Group, P.C.
11200 Broadway, Suite 2743
Pearland, Texas 77584

Rodrigo R. DeLlano, Jr.
Danziger & De Llano, LLP
440 Louisiana St., Suite 1212
Houston, TX 77002




                                           Isl D. Randall Montgomery
                                           D. RANDALL MONTGOMERY




NOTICE OF FILING OF NOTICE OF REMOVAL - Page 2
                                                                                                                                             Page 1 of 1
      Case 1:16-cv-00034-C-BL Document 1-1 Filed 02/23/16                                                Page 51 of 51 PageID 54
 Skip to Main Content Logout My Account Search Menu New Civil Search Refine Search Back                                Location All Courts    Images !:if!Q

                                                       REGISTER OF ACTIONS
                                                               CASE   No. 10682-D

Christopher Hemperley vs. Roy Hagen & Con-Way Truckload Inc. dba         §                                             Injury or Damage - Motor
                                                                                                      Case Type:
Con-Way Truckload                                                        §                                             Vehicle
                                                                         §                               Date Filed:   0112212016
                                                                         §                                Location:    350th District Court
                                                                         §

                                                                PARTY INFORMATION

                                                                                                                            Lead Attorneys
Defendant     Con-Way Truckload Inc. Doing Business
              As Con-Way Truckload


Defendant      Hagen, Roy
                9381 Weldon Drive
                Garden Grove, CA 92841


Plaintiff      Hemperley, Christopher                                                                                       S. Tim Yusuf
                                                                                                                             Retained
                Jonesboro, Georgia
                                                                                                                            866-249-7633(W)


                                                           EVENTS & ORDERS OF THE COURT

            OTHER EVENTS AND HEARINGS
01122/2016 Original Petition
             Plaintiff's
0210312016 First Amended Petition
             (PL 's) and Discovery
02/03/2016 Reguest For Issuance
             Roy Hagen
02/03/2016 Request For Issuance
             Con-Way Truckload Inc. dba Con-Way Truckload
02103/2016 Citation by Mail
             Roy Hagen
0210312016 Citation By Certified Mail
              Hagen, Roy                                          Unserved
0210312016 Citation by Mail
             Con-Way Truckload Inc. dlbla Con-Way Truckload
02/03/2016 Citation By Certified Mail
              Con-Way Truckload Inc.                             Served                     02116/2016
                                                                 Returned                   0211612016
0211612016 Green Card Returned
            ConWay Truckload Inc


                                                              FINANCIAL INFORMATION




            Plaintiff Hemperley, Christopher
            Total Financial Assessment                                                                                                               521.00
            Total Payments and Credits                                                                                                               521.00
            Balance Due as of 0212312016                                                                                                               0.00

01/25/2016 Transaction Assessment                                                                                                                    299.00
01125/2016 E-File Payment             Receipt# DC-151640                                  Hemperley, Christopher                                   (299.00)
02103/2016 Transaction Assessment                                                                                                                       2.00
02103/2016 E-File Payment             Receipt# DC-152423                                  Hemperley, Christopher                                      (2.00)
02/0312016 Transaction Assessment                                                                                                                    220.00
02/0312016 E-File Payment             Receipt# DC-152424                                  Hemperley, Christopher                                   (220.00)




http ://publicaccess. tay lorcountytexas. org/PublicAccess/CaseDetail .aspx ?CaseID= 17074440                                                2/23/2016
